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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 CHRISTINE CONFORTI, ARATI KREIBICH, MICO
 LUCIDE, JOSEPH MARCHICA, KEVIN MCMILLAN,
 ZINOVIA SPEZAKIS, and NEW JERSEY WORKING                       Case No.:
                                                                3:20-cv-08267
 FAMILIES ALLIANCE, INC.,

                   Plaintiffs,

      v.

 CHRISTINE GIORDANO HANLON, in her official capacity
 as Monmouth County Clerk, SCOTT M. COLABELLA, in his
 official capacity as Ocean County Clerk, PAULA SOLLAMI
 COVELLO, in her official capacity as Mercer County Clerk,
 JOHN S. HOGAN, in his official capacity as Bergen County
 Clerk, EDWARD P. MCGETTIGAN, in his official capacity
 as Atlantic County Clerk, and E. JUNIOR MALDONADO, in
 his official capacity as Hudson County Clerk,

                           Defendants.


     DEFENDANT COVELLO’S BRIEF IN SUPPORT OF MOTION TO
           DISMISS THE FIRST AMENDED COMPLAINT


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                          PRELIMINARY STATEMENT
       With this untimely action, plaintiffs, Christine Conforti (“Conforti”), Arati

 Kreibich (“Kreibich”), Mico Lucide (“Lucide”), Joseph Marchica (“Marchica”),

 Kevin McMillan (“McMillan”), Zinovia Spezakis (“Spezakis”), and New Jersey

 Working Families Alliance, Inc. (“NJWF” and, collectively, “Plaintiffs”) seek to

 have this Court declare unconstitutional several longstanding practices of counties

 and their duly elected county clerks in preparing for primary and general elections.

 These age old practices – specifically, the ballot design, candidate ballot placement

 drawing, and the placement of candidates and bracketing procedures – have

 withstood similar and unsuccessful challenges. This Court should similarly reject

 Plaintiffs’ claims here, on both procedural and substantive grounds.

       Courts have held that equitable doctrines preclude late-filed constitutional

 challenges to elections rules, Yet, despite Plaintiffs having had ample time to

 challenge the ballot design prior to their respective elections, Plaintiffs rested on

 their rights. As such, Plaintiffs are not at risk of any concrete and particularized

 injury, and thus cannot properly invoke this Court’s jurisdiction under Article III of

 the U.S. Constitution. That begins and ends the Court’s inquiry, rendering further

 proceedings unnecessary. Even if jurisdiction was not an absolute bar, Plaintiffs’

 claims are stale and have become moot as a result of the certification of the primary

 election results and the completion of the general election. Because all but one of



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  the Plaintiffs have not been a candidate in any race in the State of New Jersey since

  their unsuccessful previous races, their claims are moot.

           Finally, even if the Court were to reach the merits of Plaintiffs’ claims, the

  United States Supreme Court in its Eu v. San Francisco County Democratic Central

  Committee decision, laid the foundation for subsequent decisions, including in the

  District Court for New Jersey, that the States may not impinge on a candidate’s

  freedom of association to bracket with other candidates - even if it effects ballot

  placement - absent a compelling state interest. Such State laws may treat candidates

  affiliated with political parties differently than unaffiliated candidates, so long as

  they do not prevent a qualified elector from exercising his constitutional right to vote

  for any person he chooses.

           For all these reasons, the Complaint should be dismissed.

                STATEMENT OF FACTS & PROCEDURAL HISTORY1
           A.    Parties

           Conforti was a federal candidate who ran for the U.S. House of

  Representatives in New Jersey’s Fourth Congressional District (comprised of

  Monmouth, Mercer, and Ocean Counties) in connection with New Jersey’s July 7,

  2020 Democratic Primary Election. (Plaintiffs’ Amended Complaint (“Pl. Comp.”),




  1
      The Statement of Facts and Procedural History are combined for judicial efficiency.

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  Dkt. No. 28, ¶ 19). Conforti lost the 2020 primary election. (Id., at ¶ 20). 2

        Kreibich was an unsuccessful federal candidate who ran for the U.S. House

  of Representatives in New Jersey’s Fifth Congressional District (comprised of

  Bergen, Passaic, Sussex, and Warren Counties) in connection with New Jersey’s

  July 7, 2020 Democratic Primary Election. (Id., at ¶ 24-25).

        Spezakis was an unsuccessful federal candidate for the U.S. House of

  Representatives in New Jersey’s Ninth Congressional District (comprised of Bergen,

  Passaic, and Hudson Counties) in connection with New Jersey’s July 7, 2020

  Democratic Primary Election. (Id., at ¶ 44-45).

        Marchica was an unsuccessful candidate for party office on the County

  Committee in Mercer County from Hamilton Township’s 27 th Election District in

  connection with New Jersey’s July 7, 2020 Democratic Primary Election. (Id., at ¶

  33-34).

        McMillan was an unsuccessful incumbent candidate for Township

  Committeeperson in Neptune Township, Monmouth County seeking reelection to

  the Neptune Township Committee in connection with New Jersey’s July 7, 2020

  Democratic Primary Election. (Id., at ¶ 37, 42).

        Lucide is a current candidate running for County Clerk in Atlantic County in


  2
   Plaintiffs’ allegations in the Complaint are assumed to be true for the purpose of
  Covello’s motion to dismiss only, pursuant to the standard of review for such a
  motion under Fed. R. Civ. Proc. 12(b)(6).

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  connection with New Jersey’s June 8, 2021 Democratic Primary Election. (Pl.

  Comp., at ¶ 28).

        NJWF is a non-profit, 501(c)(4) grassroots independent organization involved

  in elections, and endorses candidates. (Id., at ¶48).

        Hon. Paula Sollami-Covello (“Covello”) is the Mercer County Clerk (Id., ¶

  59). Hon. Christine Giordano Hanlon (“Hanlon”) is the Monmouth County Clerk

  (Id., ¶ 57). Hon. Scott M. Colabella (“Colabella”) is the Ocean County Clerk (Id., ¶

  58). Hon. John S. Hogan (“Hogan”) is the Bergen County Clerk. (Id., at ¶ 60). Hon.

  Edward P. McGettigan (“McGettigan”) is the Atlantic County Clerk. (Pl. Comp., at

  ¶ 61). Hon. E. Junior Maldonado (“Maldonado”) is the Hudson County Clerk

  (Maldonado, along with Covello, Hanlon, Colabella, Hogan, and McGettigan are

  referred to collectively as “Defendants”). (Id., at ¶ 62).

        B.     Background of New Jersey’s Statutory Framework for Ballot
               Placement

        New Jersey organizes its primary election ballots through a grid of rows and

  columns, with the specific placement of the offices sought and the candidates for

  those offices varying by County. See N.J.S.A. 19:49-2. A candidate’s placement on

  the ballot depends on various factors including, but not limited to, endorsements

  from county political party committees, affiliation with other candidates for the same

  office or others, and a ballot drawing conducted by the County Clerk. See N.J.S.A.

  19:23-6, 19:23-18, and 19:23-24.


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        New Jersey law requires candidates who want to bracket with candidates

  running for other offices to file a joint petition with the County Clerk. (Pl. Comp., at

  ¶ 30; N.J.S.A. 19:23-18; N.J.S.A. 19:49-2.) N.J.S.A. 19:49-2 sets forth the specific

  procedure for bracketing. Candidates who file petitions with the Municipal Clerk or

  with the Secretary of State must, within 48 hours of the petition filing deadline,

  request permission from the campaign manager of joint petition county candidates

  to be bracketed with those joint petition county candidates.3 (Pl. Comp., at ¶ 74).

  Upon notification of the request, the campaign manager has 48 hours to grant

  permission to bracket with the joint petition county candidates. Candidates for other

  offices that submit petitions with the County Clerk are also able to bracket with the

  joint petition county candidates. Ibid. Successfully bracketed candidates will be

  featured on the same column of the ballot with the same slogan. (Id., at ¶ 75).

        The clerk will then conduct a drawing to determine the order of the ballot, the

  procedures of which are dictated by N.J.S.A. 19:23-24. The County Clerk has

  discretion as to which office to draw first for ballot positioning (i.e., Governor,

  United States Senate, etc.). The office which the County Clerk chooses to draw first,

  is referred to by Plaintiff as the “pivot point.” (Pl. Comp., ¶83). “All candidates who

  shall file a joint petition with the county clerk of their respective county and who



  3
   N.J.S.A 19:23-6 sets forth which candidates running for which office must file their
  nominating petitions with the Municipal Clerk, County Clerk, or Secretary of State.

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  shall choose the same designation or slogan shall be drawn for position on the ballot

  as a unit and shall have their names placed on the same line of the voting machine.”

  N.J.S.A. 19:23-24. Thus, once one of the bracketed candidates – the pivot point - is

  placed on the ballot, all other candidates in that bracketed slate will be automatically

  placed in the same column, including those running for other offices. (Pl. Comp., at

  ¶ 89). The County Clerk then draws for the second position and so on. N.J.S.A.

  19:23-24.

        Once the initial ballot draw for the pivot point office has taken place, then a

  series of ballot draws take place between remaining candidates for the other offices

  who were not bracketed with a pivot point candidate. These candidates are not

  eligible to receive the first ballot position and will be placed further to the right (or

  further to the bottom) of the ballot than the bracketed candidates running for the

  same office. (Pl. Comp., ¶ 79-80.)

        Plaintiffs specifically challenge the procedures delineated by N.J.S.A. 19:23-

  24 – although expressly stated in the Complaint as a challenge to the processes used

  by the County Clerks – and claims that the statute creates an unfair framework

  whereby certain candidates are automatically guaranteed more favorable ballot

  placement, on the “pivot point,” due to their bracketing. (See Pl. Comp., at ¶ 185).

  Plaintiffs summarize their allegations to the unconstitutionality of N.J.S.A. 19:23-24

  in the following manner:



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          unbracketed candidates have often been relegated to a ballot placement
          where they are (a) placed multiple columns away from the bracketed
          candidates, (b) stacked in the same column as another candidate for the
          exact same office, and/or (c) placed in the same column as candidates
          with whom they did not request to bracket and who requested a
          different ballot slogan. These candidates are harder to find in such
          obscure portions of the ballot commonly known as “Ballot Siberia” …
          and otherwise appear less important, further confusing voters and
          depriving candidates and their supporters of a fair chance to compete
          for the same office.

  (Pl. Comp., ¶ 80). Plaintiff alleges that bracketing and the procedure for the ballot

  draw leads to unequal, and preferential ballot placement. (Id., at ¶ 186).

          C.     Plaintiffs’ Candidacies
                  i.   Conforti

          Each County Clerk’s Office conducted a ballot draw for the Democratic

  Primary Election on April 9, 2020. (Id., ¶ 102).On or about March 30, 2020, Conforti

  filed a petition with the Secretary of State’s Office so that her name would appear

  on the 2020 Democratic Primary Election ballot in New Jersey’s Fourth

  Congressional District, which includes portions of Mercer, Monmouth, and Ocean

  Counties, to run against incumbent Republican Congressman Christopher Smith.

  (Pl. Comp., at ¶ 101.)

          Plaintiff ran against two other candidates for the Democratic slot: Stephanie

  Schmid and David Applefield. See, New Jersey Policy Perspective, Does the County

  Line Matter? An Analysis of New Jersey’s 2020 Primary Election Results (Aug. 13,

  2020)        https://www.njpp.org/publications/report/does-the-county-line-matter-an-


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  analysis-of-new-jerseys-2020-primary-election-results/ (“Does the County Line

  Matter?”).4 Plaintiff won the Democratic party endorsement in Mercer County,

  defeating Schmid and Applefield. (Pl. Comp., ¶ 116). Plaintiff was therefore listed

  in the first column in Mercer County. (Pl. Comp., ¶ 115). Plaintiff alleges that she

  “was required to bracket with other candidates whom she did not wish to associate

  with in order to protect her ballot position” and that she “was placed in the same

  column as Schmid, even though she is running against her.”5 Ibid.

        The Monmouth and Ocean County Clerks’ offices drew for ballot position

  based on U. S. Senate candidates first. (Pl. Comp. ¶¶ 104, 110.) Schmid won the

  Monmouth County Democratic endorsement and Ocean County Democratic

  endorsement, and therefore received the first line on the ballot in both counties. (Pl.

  Comp., ¶¶ 105, 111; Does the County Line Matter, supra.) Conforti was listed on

  the fourth line in both Monmouth and Ocean counties. (Id., ¶¶ 107, 112.)

        Plaintiff was ultimately unsuccessful in her bid to be the Democratic candidate

  to challenge incumbent Christopher Smith, losing to Schmid. Although Plaintiff


  4
    In deciding a Rule 12(b)(6) motion, a court may go outside the complaint to
  consider matters of public record. Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir.
  2010), cert denied, 562 U.S. 1271 (2011).
  5
   Mercer County Democratic Party bylaws allow all candidates that receive at least
  40% of the vote at the party’s endorsement convention to appear on the county line.
  Schmid was also able to hit the 40% threshold, but Plaintiff received a larger
  percentage of the convention votes and the endorsement, so was listed first. Id.


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  won Mercer county, receiving 57% of the vote, Schmid won Monmouth and Ocean

  counties, receiving 70% and 77% of the vote, respectively.6

              ii.   Marchica

          On or about March 21, 2020, Marchica filed a petition with the Hamilton

  Township Municipal Clerk so that his name would appear on the 2020 Democratic

  Primary Election ballot for County Committee in Hamilton Township’s 27th Election

  District in Mercer County. (Pl. Comp., ¶ 132). Marchica had two opponents for

  County Committee, Timothy L. Bauersachs and Wendy Sturgeon. (Id., ¶ 136). There

  were two open seats on County Committee between the three candidates. (Id., at ¶

  134).

          The Mercer County Clerks’ offices drew for ballot position based on U. S.

  Senate candidates first. (Id., at ¶ 135). Both Bauersachs and Sturgeon won the

  Mercer County Democratic endorsement and were bracketed with a Senate

  candidate, thus, entitling them to the first column.     (Id., at ¶ 136). Marchica

  voluntarily chose not to associate with any Senate candidate. (Pl. Comp., at ¶ 135).

  Marchica was listed on the second line in Mercer County. (Id., at ¶ 137). Marchica

  was ultimately unsuccessful in his bid, losing to Bauersachs and Sturgeon, who



  6
   See New Jersey Policy Perspective, Does the County Line Matter? An Analysis
  of New Jersey’s 2020 Primary Election Results (Aug. 13, 2020)
  https://www.njpp.org/publications/report/does-the-county-line-matter-an-analysis-
  of-new-jerseys-2020-primary-election-results/

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  received approximately 31.1% and 47.7% of the vote, respectively, while Marchica

  only received approximately 21.2%. (Id., at ¶ 141).

        iii.   Kreibich

        On or about March 29, 2020, Kreibich filed a petition with the Secretary of

  State’s Office to so that her name would appear on the 2020 Democratic Primary

  Election ballot for New Jersey’s Fifth Congressional District, which includes Bergen

  County. (Pl. Comp., at ¶ 118). Kreibich ran against Josh Gottheimer. (Id., ¶ 122).

        The Bergen County Clerks’ offices drew for ballot position based on U. S.

  Senate candidates first. (Id., ¶ 121). Gottheimer won the Bergen County Democratic

  endorsement and was bracketed with a Senate candidate, thus, entitling him to the

  first column. (Id., at ¶ 122). Kreibich voluntarily chose not to associate with any

  Senate candidate. (Pl. Comp., ¶ 121). Kreibich was listed on the third line in Bergen

  County. (Id., at ¶ 123).

        Kreibich was ultimately unsuccessful in her bid, losing to Gottheimer, who

  received approximately 67.1% of the vote, while Kreibich only received

  approximately 32.9%. (Id., at ¶ 125).

        iv.    Spezakis

        On or about March 27, 2020, Spezakis filed a petition with the Secretary of

  State’s Office to so that her name would appear on the 2020 Democratic Primary

  Election ballot for New Jersey’s Ninth Congressional District, which includes



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  Bergen and Hudson Counties. (Pl. Comp., ¶ 152). The Bergen and Hudson County

  Clerks’ offices drew for ballot position based on U. S. Senate candidates first. (Id.,

  at ¶¶ 155, 162). Spezakis was placed in the first column in Hudson County (Id., at

  ¶ 161) and the second column in Bergen County (Id., at ¶ 154). Spezakis voluntarily

  chose not to associate with any other candidates. (Pl. Comp., ¶¶ 155, 162).

        v.     McMillan

        On or about March 30, 2020, McMillan filed a petition with the Neptune

  Township Municipal Clerk to so that his name would appear on the 2020 Democratic

  Primary Election ballot for Township Committee in Neptune Township, Monmouth

  County. (Pl. Comp., at ¶ 142). McMillan ran against one opponent, Keith Cafferty.

  (Id., ¶ 146). The Monmouth County Clerks’ offices drew for ballot position based

  on U.S. Senate candidates first. (Id., at ¶ 145). Cafferty won the Monmouth County

  Democratic endorsement and was bracketed with a Senate candidate, thus, entitling

  him to the first column. (Id., at ¶ 146). McMillan voluntarily chose not to associate

  with any Senate candidate (Pl. Comp., ¶ 145), and was listed on the sixth line in

  Monmouth County. (Id., at ¶ 149). McMillan was ultimately unsuccessful in his

  bid, losing to Cafferty, who received approximately 52.3% of the vote to McMillan’s

  47.5%. (Id., at ¶ 125).

        vi.    Lucide

        Lucide is running for County Clerk in Atlantic County in connection with



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  New Jersey’s June 8, 2021 Democratic Primary Election. (Pl. Comp., at ¶ 28).

  Atlantic County conducted its ballot draw on April 9, 2020 in conjunction with June

  7, 2020 Primary Election. (Id., at ¶¶ 126-27). Lucide has not yet decided whether he

  will backet with other candidates but is considering same and vying for the county

  committee endorsement. (Id. at ¶ 131).

        D.     Plaintiffs’ Complaint

        On July 6, 2020, the eve of the primary election, Conforti brought a federal

  action against Defendants Hanlon, Colabella and Covello, challenging various

  provisions of N.J.S.A. §§ 19:23-6; 19:23-18; 19:23-24; and 19:49-2 (the “Election

  Laws”) (Plaintiffs’ Complaint, Dkt. No. 1). Specifically in the context of primary

  elections Conforti asserted that the following processes resulting from the Election

  Laws are unconstitutional: (1) ballots designed by columns or rows, rather than by

  office sought; (2) ballot draws that do not include a separate drawing for every office

  and where every candidate running for the same office does not have an equal chance

  at the first ballot position; (3) positioning candidates on the ballot automatically

  based upon a ballot draw among candidates for a different office; (4) placement of

  candidates such that there is an incongruous separation from other candidates

  running for the same office; (5) placement of candidates underneath another

  candidate running for the same office, where the rest of the candidates are listed

  horizontally; or to the side of another candidate running for the same office, where



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  the rest of the candidates are listed vertically; and (6) bracketing candidates together

  on the ballot such that candidates for different offices are featured on the same

  column (or row) of the ballot. (Pl. Comp. at ¶ 123; N.J.S.A. §§ 19:23-6; 19:23-18;

  19:23-24; and 19:49-2.)

        Conforti claimed that the Election Laws and the above procedures that flow

  from them violate her right to vote, right to free speech, and her freedom of

  association under both the United States and New Jersey Constitutions, with a claim

  of vote dilution (Id., at Counts I, III, IV, and VI). Further, Conforti claimed

  violations to her right to equal protection under both Constitutions (Id., at Counts II

  and V). Finally, Conforti claimed a violation of the New Jersey Civil Rights Act,

  pursuant to N.J.S.A. § 10:6-2(c). (Id., at Count VII).

        Each Defendant filed a Motion to Dismiss Conforti’s Complaint on December

  7, 2020. Thereafter, on January 26, 2021, Plaintiffs filed a First Amended Complaint

  (“Amended Complaint”) with the consent of all parties (Docket Entry 33).

        The Amended Complaint added certain parties and claims. Plaintiffs Kreibich,

  Lucide, Marchica, McMillan, Spezakis, and NJWF joined the lawsuit and Hogan,

  McGettigan, and Maldanado were added as defendants. The Amended Complaint

  removed all claims under the New Jersey Constitution and state law.

        Plaintiffs continue to claim that the Election Laws violate Plaintiffs’ right to

  vote/constitute vote dilution (Count I), equal protection (Count II), and freedom of



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  association (Count III); and newly added that they violate the Elections Clause

  (Count IV) and violate the federal Civil Rights Act (Count V).

                                LEGAL ARGUMENT
        I.     LEGAL STANDARD

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must “state

  a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although a

  court must “take all of the factual allegations in the complaint as true,” id. (citing

  Twombly, 550 U.S. at 555), “[f]actual allegations must be enough to raise a right to

  relief above the speculative level.” Twombly, 550 U.S. at 555. Thus, in reviewing a

  Rule 12(b)(6) motion to dismiss, courts should “disregard rote recitals of the

  elements of a cause of action, legal conclusions, and mere conclusory statements.”

  James v. City of Wilkes-Barre, 700 F.3d 675, 679, 681 (3d Cir. 2012).

        The standard of review for election law challenges that allege constitutional

  violations is set forth in Anderson v. Celebrezze, 460 U.S. 780, 789, 103 S. Ct. 1564,

  75 L. Ed. 2d 547 (1983). “[T]he strict scrutiny, intermediate scrutiny, and rational

  basis categories represent a convenient and familiar linguistic device by which

  courts . . . have characterized their review. Anderson [however] promulgated a less

  categorical system of classification . . . Put another way, ballot access cases should

  not be pegged into the three aforementioned categories. Rather, following Anderson,

  [the Court's] scrutiny is a weighing process.” Rogers v. Corbett, 468 F.3d 188, 194

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  (3d Cir. 2006) (citation omitted); Anderson, 460 U.S. at 789. Although this case

  concerns ballot order and not ballot access, the same analysis applies. Democratic-

  Republican Org. of N.J. v. Guadagno, 900 F. Supp. 2d 447, 455–56 (D.N.J. 2012)

  (noting the alleged benefit of positional bias places a lesser burden on the right to

  vote than ballot access, thus the analysis for a ballot placement claim is similar to

  that of a challenge to ballot access) aff’d, 700 F.3d 130 (3d Cir. 2012) (noting district

  court correctly applied Anderson balancing test in ballot placement challenge).

        Accordingly, in reviewing Plaintiffs’ Amended Complaint, the Court must

  consider "what burden is placed on the rights which plaintiffs seek to assert and then

  balance that burden against the precise interests identified by the [S]tate and the

  extent to which these interests require that plaintiffs’ rights be burdened. Only after

  weighing these factors can [the Court] decide whether the challenged statute is

  unconstitutional.” Democratic-Republican Org. v. Guadagno, 900 F. Supp. 2d 447,

  452 (D.N.J. 2012), aff'd, 700 F.3d 130 (3d Cir. 2012).

  II.   PLAINTIFFS DO NOT HAVE STANDING.

        This Court should reject Plaintiffs’ claims without reaching the merits because

  they did not challenge the Election Laws until after their respective elections and

  thus lack standing.7


  7
    NJWF, as a 501(c)(4) organization, is also unable to establish associational
  standing . To establish associational standing, a plaintiff must show (1) “its members


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        Article III standing is necessary for each form of relief sought by plaintiffs.

  Friends of Earth, Inc., 528 U.S. 167, 185 (2000). To properly invoke federal

  jurisdiction, a plaintiff must demonstrate that (1) they are under an actual threat of

  suffering an injury in fact to a legally protected interest that is “concrete and

  particularized;” (2) the injury is fairly traceable to the defendant’s conduct; and (3)

  it is likely that a favorable judicial decision will prevent or redress the injury.

  Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009); Lujan v. Defs. of Wildlife,

  504 U.S. 555, 560 (1992); Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

  Unsubstantiated allegations of “possible future injury” are not sufficient to satisfy

  Article III. Reilly v. Ceridian Corp., 664 F.3d 38, 42 (3d Cir. 2011). Nor are injuries

  that are “conjectural or hypothetical.” Robins, 136 S. Ct. 1540 at 1548.

        Here, Plaintiffs are under no actual threat of suffering a concrete and

  particularized injury in fact to any legally protected interest. Indeed, because the July

  7, 2020 primary election was conducted and the results certified, Plaintiffs suffer no




  would otherwise have standing to sue in their own right;” (2) “the interests it seeks
  to protect are germane to the organization’s purpose;” and (3) “neither the claim
  asserted nor the relief requested requires the participation of individual members in
  the lawsuit.” Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).
  Here, NJWF is unable to establish that its members would have standing to sue in
  their own right, as there is no allegation that any such members are candidates for
  any elections and, thus, governed by the Election Laws. Moreover, the interests that
  NJWF allegedly seeks to protect are not germane to its purpose, as it remains able
  to advocate for causes and endorse candidates regardless of the ballot and bracketing
  positions.

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  threat of any injury. Plaintiffs were all unsuccessful in their race for the Democratic

  primary. The certified results reflect that they each lost the Democratic nomination.

  This “injury” cannot be fairly traceable to Defendants’ conduct – Plaintiffs could

  have lost their respective elections for any number of reasons not associated with the

  ballot drawing or their ultimate placement on the ballot. It may very well be such

  that Plaintiffs lost the primary election due to a lack of public support. Plaintiffs’

  allegations that obtaining the first ballot position is directly related to favorable

  election results is purely conjecture and would require this Court to prophesize that

  Plaintiffs all would have been successful but for their ballot position – a conclusion

  that is not alleged in the Amended Complaint.

        The Amended Complaint includes shallow commitments that certain

  Plaintiffs intend to run in some future elections (Conforti, Marchica, Spezakis),

  however that is insufficient to satisfy standing as there is no actual threat that they

  will suffer any injury in some uncertain future election. Lucide, although a current

  candidate, also cannot demonstrate that he is under an actual threat of suffering any

  injury, as he may very well be successful in his bid for Atlantic County Clerk.

        Finally, NJWF similarly cannot satisfy the first element for Article III

  standing. NJWF merely advocates for certain causes and endorses candidates in

  elections. (Pl. Comp., ¶ 50-53). NJWF claims that it, its members, their endorsed

  candidates, and the voters “have suffered and will continue to suffer an injury” (Id.,



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  ¶ 56), however, it has failed to demonstrate how it, or its members is under any actual

  threat of injury nor how advocating for certain causes and endorsing candidates is a

  legally protected interest, or how ballot placement will injure that interest in a

  “concrete and particularized” way. See Summers, 555 U.S. at 493.

        Finally, a favorable decision for Plaintiffs would not prevent or redress any

  alleged injury. Should the Court agree with Plaintiffs, and grant the declaratory

  judgment and permanent injunction sought, these measures provide no recourse for

  Plaintiffs as the elections the Plaintiffs were unsuccessful candidates in have been

  completed. The results of those elections have long been certified. In fact, the

  general election results are now even certified.

        Plaintiffs fail to plead facts sufficient to satisfy the standing requirement;

  instead, Plaintiffs merely provide speculative theories on their losses. With respect

  to Lucide, as he is a current candidate, there is no injury, nor would a judicial

  decision prevent any injury as he may be successful or unsuccessful in his election

  due to a multitude of factors.

        Thus, collectively, the Plaintiffs are unable to establish Article III standing

  and the Court need not go any further in its inquiry, as the Amended Complaint

  against Covello must be denied.

        III.   PLAINTIFFS’ CLAIMS ARE MOOT.
        Plaintiffs seek an injunction to permanently enjoin the current ballot draw



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  processes and ballot design for primary elections, but as of the date of this filing,

  both the primary and general election have occurred, and almost all the Plaintiffs are

  no longer candidates. Thus, the issues presented by those Plaintiffs (Conforti,

  Kreibich, Spezakis, Marchica, and McMillan) are no longer “live.” Moreover, any

  claims by Lucide against Covello or Mercer County are inapplicable, as no aspect

  of his candidacy or election can or will be impacted by Covello.

        A case becomes moot when the issues presented are no longer live, or there is

  no longer an actual or ongoing “case or controversy” between the parties, and neither

  party has a legally cognizable interest in the final determination of the underlying

  questions of fact and law. See Los Angeles County v. Davis, 440 U.S. 625, 631

  (1979); Powell v. McCormack, 395 U.S. 486, 496 (1969); Donovan v. Punxsutawney

  Area Sch. Bd., 336 F.3d 211, 216 (3d Cir. 2003). Because the availability of relief

  “lies at the very heart of the mootness doctrine,” and because the case must remain

  “live” throughout all stages of litigation, when events occur that deprive a court of

  its ability to grant the requested relief, the case must be dismissed as moot. Donovan,

  335 F.3d at 211.

        Here, Plaintiffs sat on their rights until the eve of losing the primary, or in the

  case of the new Plaintiffs, after losing their primary election.8 Because they are no


  8
    Courts have also denied late filed election claims as barred by laches and/or
  estoppel if a suit was filed after the close of a nomination period, or an election day


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  longer candidates, Plaintiffs’ claims are no longer live and there is no actual or

  ongoing case or controversy. Moreover, Lucide, although a current candidate, has

  no “case or controversy” with Covello or Mercer County, as he is not involved in

  any election encompassing Mercer County or under the authority of Covello.

  Finally, as neither NJWF, nor its members, is eligible or running for election to any

  offices governed by the Election Laws, it can have no case or controversy with the

  Defendants and certainly not with Covello, specifically.

           Thus, the procedures and statutes which Plaintiffs seek to have declared

  violative of the United States no longer apply to them (or never did) and must be

  dismissed as moot.

           IV.   PLAINTIFFS FAIL TO STATE A CLAIM.

           Should this Court find that Plaintiffs do, in fact, have standing to bring these

  claims and that they are not moot, the Amended Complaint must still be dismissed

  on the merits because Plaintiffs have failed to set forth facts to support any

  cognizable claim under federal constitutional or election law.9



  for example. See, e.g., Perry v. Judd, 471 F. App’x 219 (4th Cir. 2012) (claim barred
  where candidates challenged law governing circulation of candidate petitions after
  deadline for petitions); Kay v. Austin, 621 F.2d 809, 813 (6th Cir.1980) (claim barred
  where candidate waited to file suit until two weeks after not being listed on ballot).
  The Perry Court reasoned that a candidate cannot choose to sit on his rights to
  challenge a provision until after receiving an unfavorable result. Perry at 224.
  9
      As a preliminary matter, it is well settled that there is no fundamental, unfettered


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         In Eu v. San Francisco County Democratic Central Committee, 489 U.S. 214

  (1989), the United States Supreme Court held that parties and political organizations

  enjoy freedom of association protected by the First and Fourteenth Amendments,

  and these rights mean not only that an individual voter has the right to associate with

  the political party of his choice, but also that “a political party has the right to identify

  the people who constitute the association,” and to select a “standard bearer who best

  represents the party's ideologies and preferences.” Eu, at 224 (internal citations

  omitted). The Eu Court’s precedence laid the groundwork for subsequent decisions

  that established not only that the State could take party affiliation into consideration

  when designing the ballot, but that it was constitutionally impermissible to ban this

  type of affiliation absent a compelling state interest. In Eu, the Court found no

  compelling state interest, as the state made no showing that voters were unduly

  influenced by party endorsements or that such a ban was necessary to ensure an

  election that was orderly and fair. Eu, 233-34.

         This precedence has been followed in New Jersey as well. Courts have plainly

  stated that “States may treat candidates affiliated with political parties differently




  right to pursue public office in or to be a party’s candidate in an election. Lewis v.
  Guadagno, 837 F. Supp. 2d 404, 411 (D.N.J.), aff’d, 445 F. App’x 599 (3 rd Circ.
  2011); see Bullock v. Carter, 405 U.S. 134, 142-43 (1972); See, e.g., McCann v.
  Clerk of City of Jersey City, 167 N.J. 311, 325, 771 A.2d 1123 (2001). As such,
  Plaintiffs have no “rights” stemming from their candidacies which have all since
  ended (with the exception of Lucide).

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  than unaffiliated candidates.” Guadagno, 900 F. Supp. 2d at 456. In fact, in

  Guadagno, the District Court for the District of New Jersey, reviewed a challenge

  very similar to that of Plaintiff, in the general election context, and held:

        placing political party candidates on the left side of the ballot and all
        other candidates on the right side does not violate Plaintiffs'
        constitutional rights. These statutes impose, at most, a minimal burden
        on Plaintiffs' ballot access. Because the Plaintiffs' burden, if any, is
        negligible, any reasonable regulatory interest provided by the State will
        ensure the statutes' constitutionality under Anderson Council of
        Alternative Political Parties v. Hooks, 179 F.3d 64, 78 (3d Cir.1999)
        … Here, the State has explained that the statute is grounded in the
        integrity of the election process by ensuring that voters can clearly
        identify which candidates are affiliated with political parties.

  Id. at 458, aff'd, 700 F.3d 130 (3d Cir. 2012).

        New Jersey has followed a similar line of reasoning when reviewing election

  statutes under the state constitution, holding that “there can be no doubt about the

  authority of the Legislature to adopt reasonable regulations for the conduct of

  primary and general elections. Such regulations, of course, may control the manner

  of preparation of the ballot, so long as they do not prevent a qualified elector from

  exercising his constitutional right to vote for any person he chooses.” Quaremba v.

  Allan, 67 N.J. 1, 11 (1975) (citing Rose v. Parker, 91 N.J.L. 84, 86 (Sup. Ct. 1917)).

        In Quaremba, plaintiffs’ principal criticism was of the county clerk's refusal

  to structure the ballot in the form of a single column with the names of the candidates

  for each office, affiliated and non-affiliated, following each other in the sequence

  determined by a drawing, and these in turn followed by a similar listing of candidates

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  for the next office and so on. Quaremba v. Allan, 67 N.J. 1, 10 (1975). Under that

  proposal, the names of those who had filed a joint petition for different offices and

  those who had affiliated with them, although appearing in a single column, would

  be separated from each other by the names of unaffiliated candidates seeking the

  same offices. Id. The Court reviewed that proposal and held that there was “no merit

  to plaintiffs’ contention that the ballots should be structured as they suggest. Indeed,

  such a separation of the names of those affiliated candidates – unless they consent

  thereto – would be contrary to the legislative purpose evident in N.J.S.A. 19:49-2.

  67 N.J. at 6; see, Harrison v. Jones 44 N.J. Super. 456, 461 (App. Div. 1957).10

        Here, Plaintiffs criticize New Jersey’s ballot system and claim that it

  “systematically prevent[s] unbracketed candidates from having any opportunity to

  ever be listed in the first column on the primary election ballot, resulting in a serious

  electoral disadvantage.” (Pl. Comp., at ¶ 97). While not expressly advocating for a

  similar ballot design to that of the plaintiff in Quaremba, to achieve Plaintiffs’

  desired design the ballot would need to be constituted in a similar way. And


  10
     Even in other jurisdictions, similar challenges to a State’s ballot design and
  bracketing procedures have been unsuccessful. See Sarvis v. Alcorn, 826 F.3d 708
  (4th Cir. 2016) (court found that Virginia’s tiered ballot law imposed modest burdens
  on Constitutional rights but, because all parties were subject to the same state law,
  the proportional nondiscrimination of the application of the law was upheld); Walsh
  v. Boyle, 179 A.D. 582 (First Dept. 1917) (holding that it is improper for the judiciary
  to force a ballot ordering); Mintz v. Cuomo, 45 N.Y. 2d 918 (1978) (appellate court
  restored an original ballot design after the lower court improperly reordered the
  ballot).

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  although the Quaremba Court held that “the county clerk must act in good faith and

  may not intentionally discriminate against any candidate or group of candidates.”

  Quaremba, 67 N.J. at 16, Plaintiffs do not allege here that any Defendants acted in

  bad faith or intentionally discriminated against anyone.

        Specifically, and as set forth in more detail below, Plaintiffs cannot establish

  a claim that that the ballot drawing and design processes violated their right to vote,

  freedom of association or equal protection rights, nor that they constituted vote

  dilution, or violations of the Elections Clause or Civil Rights Act. Thus, the Court

  should dismiss Plaintiffs’ Amended Complaint and defer to the actions of the county

  clerks in accordance with Title 19, as it is clear the regulations complained of are

  necessary to the integrity of the electoral process. See Eu, at 232.

               A.     Counts I and III Should be Dismissed.

        Plaintiffs’ claim that that the ballot drawing and design processes violate

  Plaintiffs’ rights to vote and/or constitute vote dilution and freedom of association

  should be dismissed because Plaintiffs fail to plead facts sufficient to support any

  alleged right and they assert constitutional violations that are not cognizable.

           i. Count I - Right to Vote/Vote Dilution

        Plaintiffs’ constitutional right to cast their vote is not being infringed in any

  way. In fact, Plaintiffs conflate the right to vote with some alleged entitlement to a

  more favorable ballot placement. Although “voting is of the most fundamental



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  significance under our constitutional structure”, Burdick v. Takushi, 504 U.S. 428,

  433 (1992) (quoting Illinois Bd. of Elections v. Socialist Workers Party, 440 U.S.

  173, 184 (1979)), “[i]t does not follow ... that the right to vote in any manner and the

  right to associate for political purposes through the ballot are absolute.” Id. (citing

  Munro v. Socialist Workers Party, 479 U.S. 189, 193 (1986)). “States have a major

  role to play in structuring and monitoring the election process, including primaries.”

  Cal. Democratic Party v. Jones, 530 U.S. 567, 572 (2000); see also Article I, Sec. 4

  of the U.S. Constitution. It necessarily follows that if a candidate's ballot access can

  be regulated by the state, see Jenness v. Fortson, 403 U.S. 431,441–42 (1971), a

  candidate's ballot placement can also be regulated, as placement is surely a less

  important aspect of voting rights than access. See, Guadagno, at 456 (citing

  Sonneman v. State, 969 P.2d 632, 638 (Alaska 1998) (“[T]he statute in question,

  however, does not restrict access to the ballot or deny any voters the right to vote for

  candidates of their choice… Instead, it merely allocates the benefit of positional bias,

  which places a lesser burden on the right to vote.”)).

        Here, Plaintiffs’ right to vote was not obstructed in any way. Plaintiffs do not

  claim that their position on the ballot restricted their – or any voter’s – access to the

  ballot or denied any voter the right to vote for any candidate of their choice. As such,

  Plaintiffs’ claim under their right to vote is unfounded.

        Similarly, vote dilution based on the potential for bracketed candidates to gain



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  an advantage is not a cognizable claim.11 Republican Party of Pa. v. Cortés, 218 F.

  Supp. 3d 396, 406–07 (E.D. Pa. 2016) (finding plaintiffs’ “vote-dilution theory is

  based on speculation”); see also Serpentfoot v. Rome City Comm’n, 426 F. App’x

  884, 887 (11th Cir. 2011); Pettengill v. Putnam Cty. R-1 Sch. Dist., Unionville, Mo.,

  472 F.2d 121, 122 (8th Cir. 1973); Powell v. Power, 436 F.2d 84, 88 (2d Cir. 1970).

        To be sure, vote dilution can, in certain circumstances, unconstitutionally

  impinge the right to vote, but only when the law systematically or invidiously

  devalues one community’s votes as compared to otherwise similarly situated voters.

  Plaintiffs’ allegations only claim vote dilution as they relate to ballot position

  drawing and placement, which does not rise to the level of recognized dilution.12



  11
     Plaintiffs really allege that their opportunity to capture the “windfall vote” (a claim
  that voters simply pick, without thought or reason, the candidates whose names
  appear to the far left of the ballot) has been impeded by their ineligibility for the
  pivot point. “While access to ballot may, at times, be afforded constitutional
  protection, access to a preferred position on the ballot so that one has an equal chance
  of attracting the windfall vote is not a constitutional concern. Indeed, it should not
  be. The Constitution does not protect a plaintiff from the inadequacies or the
  irrationality of the voting public; it only affords protection from state deprivation of
  a constitutional right.” New Jersey Conservative Party, Inc. v. Farmer, 332 N.J.
  Super. 278, 287 (1999) (citing New Alliance Party v. New York State Board of
  Elections, 861 F. Supp. 282, 295 (S.D.N.Y. 1994) (quoting Clough v. Guzzi, 416 F.
  Supp. 1057, 1067 (D. Mass. 1976)).
  12
     See Hennings v. Grafton, 523 F.2d 861, 864 (7th Cir. 1975) (infringements of
  voting rights found to have risen to a constitutional level include dilution of votes
  by reason of malapportioned voting districts or weighted voting systems); Reynolds
  v. Sims, 377 U.S. 533, 567 (1964) (involving a challenge to unequally apportioned
  voting districts).

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  That is because “[t]he Constitution is not an election fraud statute,” Minn. Voters

  Alliance v. Ritchie, 720 F.3d 1029, 1031 (8th Cir. 2013) (quoting Bodine v. Elkhart

  Cty. Election Bd., 788 F.2d 1270, 1271 (7th Cir. 1986)), and does not support claims

  “premised on potential harm in the form of vote dilution caused by” election

  processes that Plaintiffs dislike, id. at 1033.

        Here, Plaintiffs’ vote dilution claim is not sufficiently supported by the facts

  set forth in the Amended Complaint, which states nothing more than concerns that

  they may have been disadvantaged due to conscious choices not to bracket with other

  candidates. Moreover, New Jersey’s drawing and bracketing processes do not favor

  one community’s votes over another. See Short v. Brown, 893 F.3d 671, 678 (9th

  Cir. 2018) (rejecting vote dilution claim based on an improper reading of Reynolds,

  which “stand[s] for something narrower: that a state may not allocate representation

  differently based on a voter’s county of residence”). Each registered New Jersey

  voter, regardless of a candidate’s location on the ballot, can choose to vote for

  whomever they please.

        There is simply no authority for transmogrifying the vote dilution line of cases

  into a weapon that may be used by a candidate to seek a supposed favorable

  placement on the ballot, based entirely on unfounded and speculative allegations. To

  the contrary, courts have routinely and appropriately rejected such efforts. See

  Ritchie, 720 F.3d at 1031–32 (affirming Rule 12(b)(6) dismissal of vote dilution



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  claim); see also Cortés, supra, 218 F. Supp. 3d at 406–07. Because Plaintiffs have

  failed to allege facts that give rise to a plausible claim for relief, or even alleged a

  cognizable legal theory, Count I should be dismissed.

           ii. Count III - Freedom of Association

         Count III claims violations of Plaintiffs’ constitutional rights of freedom of

  association, however, Plaintiffs fail to plausibly state a claim that their freedoms

  have been infringed upon in any way. In Schundler v. Donovan, the court held that

  “no rights guaranteed by the First Amendment are absolute, 377 N.J. Super. 339

  (2005); see also, Tashjian v. Republican Party of Connecticut, 479 U.S. 208, 217-

  18 (1986). Even fundamental rights, such as those involving expressive exercises,

  are subject to limitation if a sufficiently compelling public interest exists in particular

  circumstances at hand. Eu v. San Francisco County Democratic Central Comm., 489

  U.S. 214 (1989). Where a limitation on protected expressive interests emanates from

  a provision regarding elections, the test for compelling public interest is whether the

  "regulation . . . is necessary to the integrity of the electoral process." Id. at 232.

         The Supreme Court in Eu also recognized freedom of association enjoyed by

  political parties. 489 U.S. at 216. The Court held that political parties have a role in

  selecting their organization, claiming that “partisan political organizations enjoy

  freedom of association protected by the First and Fourteenth Amendments. Freedom

  of association means … also that a political party has a right to identify the people



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  who constitute the association….” Ibid. Here, bracketing follows the principle

  established in Eu, which allows the political parties to organize in advance of

  elections as they see fit.

         As the court found in Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.), “the

  freedom of association would “prove an empty guarantee if associations could not

  limit control over their decisions to those who share the interests and persuasions

  that underlie the association's being.” See Cal. Democratic Party, 530 U.S. at 574-

  75. Similarly, in Moskowitz v. Grogan, the court, relying on N.J.S.A. 19:49-2, held

  that since one slate of delegates to a national party convention was affiliated with a

  group of county candidates, another unaffiliated slate was not entitled to a drawing

  for position on the ballot as against the affiliated slate, “for the state candidates who

  affiliate with county candidates may not be displaced from their position on the same

  line with their affiliated county candidates.” 101 N.J. Super. 111, 116 (App. Div.

  1968).

         Even if this Court found that the statutes complained of burdened Plaintiffs’

  associational rights, the burden is minimal. Plaintiffs were able to choose between

  associating or not associating with other candidates, political parties, etc. and were

  able to exercise that right however they pleased. In fact, as explained above, in

  certain instances, some Plaintiffs did exercise their right to associate and were, in

  fact, placed in the first column (for example, Conforti in Mercer County). No



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  Plaintiff was ever placed in the position where he or she was forced to associate with

  any other candidates. At all relevant times, Plaintiffs were fully apprised of the

  bracketing process and had ample time to opt to bracket with other candidates to

  secure the ability to obtain the pivot point.

        Accordingly, Plaintiffs’ challenges to the statutes under the freedom of

  association must fail because the State’s legitimate interests in protecting the

  associational rights of political associations, maintaining ballot integrity, avoiding

  voter confusion, and ensuring electoral fairness outweigh any burden Plaintiffs

  allege. See, Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.); Ray v. Blair, 343 U.S.

  214, 221, 222 (1952); Nader v. Schaffer, 417 F. Supp. 837, 848 (D. Conn. 1976),

  aff'd, 429 U.S. 989 (1976)

        The United States Supreme Court rejected the same arguments raised by

  Plaintiffs here in Cal. Democratic Party v. Jones, when it invalidated Proposition

  198, under which the voters of California had adopted to change California's

  electoral system from a closed primary to a blanket primary. 530 U.S. at 570, 582-

  86. Previously, California held a closed primary, in which only persons who were

  members of the political party were permitted to vote on its nominee. Proposition

  198 changed the system to a blanket primary, which allowed the voter to choose

  freely among candidates regardless of party affiliations. Id. Several political parties

  challenged the rule, claiming it violated their First Amendment rights of association.



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  Id. The Court rejected the arguments similar to those of Plaintiffs, here – stating that

  those alleged interests were not compelling.13 Id.

         As such, Plaintiffs’ freedom association claim must be dismissed.

                B.     Count II Should be Dismissed.
         Plaintiffs’ claims for Equal Protection rights violations in Count II are equally

  without merit and should be dismissed. The Equal Protection Clause is essentially a

  directive that all individuals similarly situated should be treated alike. Cleburne v.

  Cleburne Living Center, Inc., 473 U.S. 432, 439 (1985). However, “[t]he state's

  creation of a classification is not ‘per se unconstitutional or automatically subject to

  heightened scrutiny.’” Connelly v. Steel Valley Sch. Dist., 706 F.3d 209, 213 (3d Cir.

  2013) (quoting Maldonado v. Houstoun, 157 F.3d 179, 184 (3d Cir. 1998)). Courts

  will, as a result, uphold a classification “so long as it bears a rational relation to some

  legitimate end” and it neither burdens a fundamental right nor targets a suspect class.

  Id.

         In the context of election law, the Courts have held that “in facilitating the

  effective operation of [a] democratic government, a state might reasonably classify

  voters or candidates according to political affiliations.” Clingman v. Beaver, 544




  13
     Ultimately, the Court did overturn the blanket primary for reasons inapplicable
  here – finding that it imposed on political parties’ freedom to prevent “party raiding,”
  a process in which dedicated members of one party formally switch to another party
  to alter the outcome of that party's primary. Id.

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  U.S. 581, 594 (2005) (quoting Nader v. Schaffer, 417 F. Supp. at 845-46). Indeed, it

  has been recognized that a state does not deprive an individual of equal protection

  in drawing a distinction between affiliated and unaffiliated voters. Nader, 417 F.

  Supp. at 848; see also Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.)

        At all times leading up to the election, Plaintiffs were treated like all other

  candidates in the election - the ballot draw is done irrespective of the individual

  candidates themselves but, rather, for the offices for which they are running.

  Moreover, Plaintiffs have failed to plead sufficient facts warranting this Court to

  scrutinize the actions taken by any county clerk. A county clerk has wide latitude in

  crafting the ballot, unless an abuse of discretion is apparent, and such discretion has

  been upheld consistently in New Jersey. See Farrington v. Falcey, 96 N.J. Super.

  409 (App. Div. 1967) (“the county clerk is given a wide discretion in these matters,

  and that the court will not interfere with the exercise of that discretion unless clearly

  unreasonable, is well established by our decisions.).14

        In reviewing N.J.S.A. 19:49-2, the New Jersey Supreme Court held that the

  decision on how to structure the drawing as between bracketed and independent

  candidates rested with the county clerk. Hawkes v. Gates, 129 N.J.L. 5 (1942). And,



  14
     It has been recognized that the concept of equal protection implicit in Art. I, par.
  I of the New Jersey Constitution is analogous to the federal equal protection clause
  in terms of analysis. Sojourner A. v. N.J. Dep’t of Human Servs., 177 N.J. 318, 332
  (2003).

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  while a clerk’s discretionary action is not “beyond judicial approval,” the Court has

  stated that “it is not for a court to choose one of several reasonable courses, for that

  choice is precisely what the Legislature left to another”; rather, the court would only

  act “if it clearly appears the course taken is not rooted in reason….” Richardson v.

  Caputo, 46 N.J. 3, 9 (1965) (citing, United Hunters Ass'n v. Adams, 36 N.J. 288

  (1962)).

         Plaintiffs’ equal protection challenge fails because no Plaintiff is a member of

  a suspect class, nor does the Amended Complaint allege any such a membership on

  behalf of any Plaintiff. While Plaintiffs assert that there is a fundamental right to

  vote in primaries, there is, in fact, no constitutional right to participate in primary

  elections. Cal. Democratic Party, 530 U.S. at 573 n.5; Consumer Party v. Davis,

  633 F. Supp. 877, 888 (E.D. Pa. 1986). The Election Laws are therefore subject only

  to rational basis review, which they easily survive because the statutes are rationally

  related to the State's legitimate interests in protecting the associational rights of party

  members, maintaining ballot integrity, avoiding voter confusion, and ensuring

  electoral fairness.

         As this Court knows, states are entitled to broad leeway in regulating elections

  to ensure they are carried out in a fair and efficient manner. See Rutgers University

  Student Assembly v. Middlesex County Bd. of Elections, 446 N.J. Super. 221 (App.

  Div. 2016). A court considering a challenge to a state election law must weigh “the



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  character and magnitude of the asserted injury to the rights protected by the First and

  Fourteenth Amendments that the plaintiff seeks to vindicate” against “the precise

  interests put forward by the State as justifications for the burden imposed by its rule,”

  taking into consideration “the extent to which those interests make it necessary to

  burden the plaintiff's rights.” Burdick v. Takushi, 504 U.S. 428 (1992) citing

  Anderson v. Celebrezze, 460 U.S. 780 (1983). When those rights are subjected to

  “severe” restrictions, the regulation must be “narrowly drawn to advance a state

  interest of compelling importance.” Norman v. Reed, 502 U.S. 279, 289 (1992). But

  when a state election law provision imposes only “reasonable, nondiscriminatory

  restrictions” upon the First and Fourteenth Amendment rights of voters, “the State's

  important regulatory interests are generally sufficient to justify” the restrictions.

  Anderson, 460 U.S., at 788; see also Burdick, 504 U.S., at 434.

        Here, it is undisputed that the State has an important, legitimate interest in

  ensuring an accessible ballot that avoids voter confusion and permits voters to easily

  identify candidates and the political parties they are affiliated with.15 Plaintiffs fail

  to present any facts or allegations that Defendants imposed any “severe” restrictions

  upon their rights. Indeed, even if Plaintiffs had, the statutes being challenged are


  15
    “There is surely an important state interest in requiring some preliminary showing
  of a significant modicum of support before printing the name of a political
  organization's candidate on the ballot—the interest, if no other, in avoiding
  confusion, deception, and even frustration of the democratic process at the general
  election.” Guadagno, at 456 (citing Jenness v. Fortson, 403 U.S. 431, 442 (1971)).

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  narrowly drawn to advance the State’s interest. However, in following the process

  set forth in the challenged statutes, Defendants at most imposed a reasonable,

  nondiscriminatory restriction upon Plaintiffs, which are certainly justified by the

  underlying compelling interests. As such, the statutes meet rational basis review and

  Plaintiffs’ Equal Protection claim must fail.

               C.    Count IV Should be Dismissed.

        Count IV of Plaintiffs’ Amended Complaint is based on the “Elections

  Clause,” which states, “The Times, Places and Manner of holding Elections for

  Senators and Representatives, shall be prescribed in each State by the Legislature

  thereof; but the Congress may at any time by Law make or alter such Regulations,

  except as to the Place of choosing Senators.” U.S. Const., Art. I, Sec. 4, Cl. 1.

  Plaintiffs claim that the Election Laws complained of, described as the “bracketing

  and ballot placement systems” do not regulate the time, place or manner of federal

  elections, nor are they merely procedural regulations, but “instead dictate electoral

  outcomes.” (Pl. Comp., at ¶¶ 213-16). Plaintiffs argue that the bracketing and ballot

  placement systems exceed the state authority under the Elections Clause and, thus,

  must be struck down as unconstitutional.

        In Cook v. Gralike, 531 U.S. 510, 522 (2001), the Supreme Court noted that

  the Elections Clause constituted a limited delegation. The Elections Clause

  authorizes each state to enact processes to be followed in electing members of the



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  House and Senate from their respective states. As the Supreme Court recognized in

  Storer v. Brown, 415 U.S. 724 (1974), states retain the power of establishing the

  time, place, and manner of primary elections under the Elections Clause. “[A]s a

  practical matter, there must be a substantial regulation of elections if they are to be

  fair and honest and if some sort of order, rather than chaos, is to accompany the

  democratic processes.” Id. at 730. The Court explained in Foster v. Love, 522 U.S.

  67, 69 (1997), that the Elections Clause “is a default provision; it invests the States

  with responsibility for the mechanics of congressional elections.” The Court

  reiterated in U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 832 (1995) that the

  Framers intended the Elections Clause to grant states the authority to create

  procedural regulations for such federal elections.

        Recent Supreme Court precedent has established that the reference to the

  “Legislature” in the Elections Clause encompasses more than just legislative

  lawmaking bodies. In Arizona State Legislature v. Arizona Indep. Redistricting

  Comm'n, 576 U.S. 787, 806-09 (2015), the Court upheld the validity of an

  independent congressional redistricting commission created by a voter ballot

  initiative rather than through a statute enacted by the Arizona Legislature. The Court

  rejected the challengers' argument that only the Arizona Legislature could specify

  the district boundaries and electoral processes. Tracing the history of Article I,

  Section 4, Justice Ginsburg's majority opinion for the Court observed that “[t]he



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  dominant purpose of the Elections Clause, the historical record bears out, was to

  empower Congress to override state election rules, not to restrict the way States enact

  legislation.” Id. at 814-15.

        The Elections Clause grants the states “comprehensive ... authority to provide

  a complete code for the congressional elections, not only as to times and places, but

  in relation to ... supervision of voting, protection of voters, prevention of fraud and

  corrupt practices, counting of votes, duties of inspectors and canvassers, and making

  and publication of elections returns,” unless Congress should “supplement these

  state regulations or ... substitute its own.” Smiley v. Holm, 285 U.S. 355, 366–67

  (1932); see also Foster, 522 U.S. at 71, n.2.16 Thus, the Elections Clause grants the

  states “wide discretion in the formulation of a system for the choice by the people of

  representatives,” Classic, 313 U.S. at 311, the only limitation being that “the state


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     “The [Elections] Clause is a default provision; it invests the States with
  responsibility for the mechanics of congressional elections, but only so far as
  Congress declines to preempt state legislative choices.” Foster, 522 U.S. at 69,
  (internal citation omitted) (citing Storer v. Brown, 415 U.S. 724, 730 (1974);
  Roudebush v. Hartke, 405 U.S. 15, 24 (1972)); see United States v. Classic, 313 U.S.
  299, 311 (1941) (stating that the Elections Clause grants states “wide discretion in
  the formulation of a system for the choice by the people of representatives in
  Congress”); Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 775 (5th Cir.
  2000) (“[A] state's discretion and flexibility in establishing the time, place and
  manner of electing its federal representatives has only one limitation: the state
  system cannot directly conflict with federal election laws on the subject.”). “[I]t is
  well settled that the Elections Clause grants Congress ‘the power to override state
  regulations’ by establishing uniform rules for federal elections, binding on the
  States.” Foster, 522 U.S. at 69 (internal quotation marks omitted) (quoting U.S. Term
  Limits, Inc. v. Thornton, 514 U.S. 779, 832–33 (1995)).

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  system cannot directly conflict with federal election laws on the subject.” Bomer,

  199 F.3d at 775.

        Here, there is no conflict between the Elections Laws and any federal statute,

  including the Elections Clause. Nor do Plaintiffs direct the Court to any federal law

  regulating methods of determining the bracketing and ballot placement of

  candidates. New Jersey’s bracketing and ballot placement systems run in

  conjunction to and conformity with Congress’ delegation of power in this space.

  Moreover, as the Court is aware, these same statutes have been challenged regularly

  – almost every election cycle – with Congress taking no steps to preempt New

  Jersey’s laws. Where Congress “declines to preempt state legislative choices,” the

  Elections Clause vests the states with responsibility for the “mechanics of

  congressional elections.” Foster, 522 U.S. at 69. As such, Plaintiffs’ Count IV under

  the Elections Clause fails and must be dismissed.

               D.    Count V Should be Dismissed.
        Finally, Plaintiffs’ civil rights claims must fail. The relevant provisions of the

  Civil Rights Act, 42 U.S.C. § 1983 state:

        Every person who, under color of any statute, ordinance ... of any
        State... subjects or causes to be subjected, any citizen of the United
        States or other person within the jurisdiction thereof to deprivation of
        any rights, privileges, or immunities secured by the Constitution and
        laws, shall be liable to the party injured in an action at law, suit in
        equity, or other proper proceeding for redress.

        Thus, the language of the statute indicates that it provides remedy only for


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  deprivations of rights secured by the Constitution or federal laws. Maine v.

  Thiboutot, 448 U.S. 1, 7 (1984). It is well settled that § 1983 is not itself a source of

  substantive rights but merely provides a method for vindicating federal rights

  conferred elsewhere. Graham v. Connor, 490 U.S. 386 (1989) (citing Baker v.

  McCollan, 443 U.S. 137, 144, n.3 (1979)). Thus, “one cannot go into court and claim

  a violation of §1983 - for §1983 by itself does not protect anyone from anything.”

  Chapman v. Houston Welfare Rights Org., 441 U.S. 600, 617 (1979); Baker, supra

  at page 144, n.3 (1979).

        Under §1983 a plaintiff is required to set forth specific conduct by the

  governmental entity or its officials which violated the Constitutional rights of

  plaintiff. Hillard v. New Jersey Army Nat'l Guard, 527 F. Supp. 405 (D.N.J. 1981);

  Henschke v. Borough of Clayton, 251 N.J. Super. 393, 401 (App. Div. 1991). Reid

  v. Barret, 467 F. Supp. 124 (D.N.J. 1979), aff'd 615 F.2d. 1354 (3rd Cir. 1990) ( A

  plaintiff is required to establish with specificity that the defendant deprived him of

  a right secured by the Constitution.) A plaintiff’s assertion of the violation of a

  federal right must not be too vague and amorphous to be beyond the competence of

  the judiciary to enforce. Golden State Transit v. City of Los Angeles, 493 U.S. 103,

  106 (1989); Wright v. Roanoke Redevelopment and Housing Authority, 479 U.S.

  418, 431-432 (1987).

        It is evident that Plaintiffs have failed to meet the requirements of § 1983.



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  Even a most liberal reading of the Amended Complaint in favor of Plaintiffs fails to

  demonstrate the deprivation of any rights protected by the Constitution or federal

  statutes. As set forth above in Points A, B and C, supra, there is no constitutional

  right regarding bracketing and ballot placement positions.

           Specificity that Defendants deprived Plaintiffs of their secured rights is an

  absolute requirement. Reid v. Barret, supra; Hillard v. New Jersey Army Nat'l

  Guard, supra. Here, Plaintiffs fail to set forth any specific conduct which violated

  their Constitutional rights.



                                     CONCLUSION
           For the foregoing reasons, Defendant’s Motion to Dismiss should be granted.

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